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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
DARNELL D. HIBBERT,

       Plaintiff,

v.                                                               Case No: 8:22-cv-766-KKM-AEP

IQ DATA INTERNATIONAL, INC.,

      Defendant.
___________________________________

             FAST TRACK CASE MANAGEMENT AND SCHEDULING ORDER

         Under Federal Rule of Civil Procedure 16 and Local Rule 3.02(c) and (d)(1), the Court enters this
 special Fast Track Case Management and Scheduling Order, tailored to meet the particular circumstances
 of cases under the Fair Debt Collection Practices Act, Telephone Consumer Protection Act, state law
 consumer protection statutes, and other comparable statutes. The provisions of this order will be strictly
 enforced. Accordingly, it is ORDERED:

        1.   Parties are directed to meet the deadlines below:


                Deadline for Initial Disclosures                      July 15, 2022
                Third Party Joinder / Amend Pleading                  July 29, 2022
                Mediation Notice Deadline                            August 19, 2022
                Plaintiff Expert Disclosure                         September 9, 2022
                Defendant Expert Disclosure                          October 7, 2022
                Rebuttal Expert Disclosure                           October 21, 2022
                Discovery Cut-Off                                   November 4, 2022
                Mediation Deadline                                  November 18, 2022
                Dispositive and Daubert Motions                     December 2, 2022
                Motions In Limine                                    March 22, 2023
                Joint Pretrial Statement                              April 5, 2023
                Pretrial Conference                                   April 12, 2023
                Trial Briefs                                          April 17, 2023
                Trial Term                                              May 2023


        2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in Fed.
             R. Civ. P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06 concerning
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       Final Pretrial Procedures, as supplemented herein at ¶ 6. Parties are advised to review the
       amendments to the Rules of Civil Procedure regarding discovery, which became effective
       December 1, 2020.

  3.   This case is referred to court-annexed mediation in accordance with the rules governing
       mediation set forth in Chapter Four of the Local Rules. The parties shall select a Mediator,
       and counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of
       mediation. The list of certified mediators is available on the internet at
       www.flmd.uscourts.gov under “For Lawyers/Mediation and Settlement.” The list is not
       exclusive, and any certified mediator is permissible. Lead counsel must file a Mediation Notice
       which (a) identifies the selected Mediator and includes address, telephone, and facsimile
       information, (b) sets the time, date, and place for the mediation conference by the above-
       designated date, and (c), if a mediator is not on the Middle District of Florida (Tampa
       Division)’s online list of certified mediators, provide an explanation of the selected mediator’s
       certification. Unless a party files a motion that establishes good cause to conduct mediation
       via videoconference and the Court grants the motion, mediation must be conducted in-
       person. If the parties fail to select a Mediator or do not notify the Court of such selection by
       the above-designated date, the Court will sua sponte and without further notice select an
       individual to serve as Mediator and issue the appointment. The mediation conference may be
       conducted any time on or before the above-designated date.

  4.   Last Date to Mediate: The parties shall complete the mediation conference on or before the
       mediation date set forth earlier in the above table. Neither the mediator nor the parties have
       authority to continue the mediation conference beyond this date except on express order
       of the Court. In any complex case or case involving multiple parties, the mediator has the
       authority to conduct the mediation in a series of sessions and in groups of parties so that
       mediation       is      complete         by       the      last    date      to       mediate.

  5.   Parties will please note that motions to amend any pleading or a motion for continuance of
       any pretrial conference, hearing or trial filed after issuance of this Case Management and
       Scheduling Order are disfavored. See Fed. R. Civ. P. 16(b)(4); Local Rule 3.08(a).

  6.   A Pretrial Conference will be held before the undersigned in Courtroom 13B, 801 North
       Florida Avenue, Tampa, Florida, on April 12, 2023, at 1:30 p.m. Parties are directed to
       meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P. 26(a)(3) and to
       adhere to all requirements in Local Rule 3.06 concerning final pretrial procedures. The parties
       shall file a joint Pretrial Statement one week before the above-referenced pretrial conference
       date. Failure to do so may result in the imposition of sanctions. The parties shall file any
       motions in limine three weeks before the Pretrial Conference date and any response to a
       motion in limine one week before the Pretrial Conference date. Counsel who will act as lead
       trial counsel in the case and who is vested with full authority to make and solicit disclosure
       and agreements touching all matters pertaining to the trial must attend the Pretrial
       Conference. Counsel who do not attend the Pretrial Conference will not be permitted to

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       participate in trial.

  7.   This case is set for Jury Trial during the term commencing May 1, 2023, before the
       undersigned. This May 2023 trial term shall include the entire month.

  8.   CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28 U.S.C.
       § 636(c) and Fed. R. Civ. P. 73, the parties may consent to have a United States Magistrate
       Judge conduct any or all further proceedings in this case, including the trial. Parties are advised
       that a magistrate judge can provide certainty and flexibility in scheduling, including a date
       certain for trial—unlike the district court calendar that assigns only a trial month and is
       subject to frequent changes due to the Court’s criminal calendar. Parties may consent to
       proceed before a magistrate by filing a completed Form AO 85 “Notice, Consent, and
       Reference of a Civil Action to a Magistrate Judge,” which is available on the Court’s website
       under “Filing a Case/Forms/Civil Forms.” Consent is voluntary, and a party for any reason
       can decide not to consent and continue before the district judge without adverse consequences.
       See Fed. R. Civ. P. 73(b)(2).

  9.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be
       followed by the parties:


          (a)     A party’s claims or defenses for which summary judgment is sought shall be
                  presented in a single motion and incorporated memorandum of law which, absent
                  prior permission of the Court, shall not exceed twenty-five (25) pages total.
                  Multiple motions for summary judgment will not be permitted. A violation of any
                  of these directives will result in the Court sua sponte striking a party’s motion for
                  summary judgment and incorporated memorandum of law without notice. Any
                  record citations should be to page and line of the filed materials.

          (b)     Prior to filing a motion for summary judgment, the moving party shall confer in
                  good faith with the party or parties against whom summary judgment is sought for
                  the purpose of narrowing the factual issues in dispute. A party by separate pleading
                  filed contemporaneously with the motion for summary judgment and incorporated
                  memorandum of law shall certify that such a conference has taken place and that
                  the parties were or were not able to agree on a narrowing of the factual issues in
                  dispute. The moving party shall file a separate “Joint Statement of Undisputed
                  Facts” (not exceeding 20 pages in length), agreed upon by all parties and with
                  citations to the record, which shall accompany the motion for summary judgment.

          (c)     Any party opposing a summary judgment motion shall file a memorandum of law
                  in opposition no later than the time allotted pursuant to Local Rule 3.01(c). To the
                  extent that the party opposing a motion for summary judgment disputes any facts
                  asserted in the motion, the opposing party must include those disputed facts, with

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                 citations to the record, in the memorandum responding to the motion for summary
                 judgment. All material facts set forth by the moving party shall be deemed admitted
                 unless controverted by the opposing party in the response to the motion for
                 summary judgment.

         (d)     Failure to respond to a motion for summary judgment shall be deemed that the
                 non-moving party does not oppose the motion and may result in final judgment
                 being entered without a trial or other proceeding.

         (e)     Oral argument or hearings will generally not be held on the motion.

         (f)     A violation of any of these directives will result in the Court sua sponte striking a
                 party’s motion for summary judgment without notice.

  10. For jury trials, not later than fourteen (14) days prior to the date on which the trial term is
      set to commence, the parties shall file the following:

         (a)     Proposed Jury Instructions: The parties must confer about the jury instructions
                 and submit to the Court: 1) all instructions that are undisputed; 2) instructions
                 proposed by the plaintiff but not acceptable to the defense; and 3) instructions
                 proposed by the defense but not acceptable to the plaintiff. A complete set of all
                 written Proposed Jury Instructions shall bear a cover sheet with the complete style
                 of the case and appropriate heading designating the submitting party; there shall be
                 no more than one instruction per page and contain, at the end of each such
                 instruction, citation of authorities; they shall be sequentially numbered and party-
                 identified (e.g., Plaintiff’s Requested Instruction No. 1). Counsel must email
                 proposed jury instructions and verdict forms in Microsoft Word (.doc or .docx)
                 format to the chambers inbox. Include the case number and case name in the subject
                 line;

         (b)     A concise (one paragraph preferably) joint statement of the nature of the action to
                 be used in providing a basic explanation of the case to the jury venire;


         (c)     Proposed Verdict Form; and

         (d)     Proposed Questions for Voir Dire: The court conducts the initial voir dire
                 examination and parties should submit all proposed questions by the above
                 deadline. Counsel may submit additional follow-up questions after the court
                 examines the jury venire, but counsel will ordinarily not be permitted to examine
                 potential jurors.



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  11. For jury trials, each party may file a Trial Brief not later than fourteen (14) days prior to the
      date on which the trial term is set to commence. The brief should include citations of
      authorities and arguments specifically addressing all disputed issues of law likely to arise at
      trial.

  12. For bench trials, not later than fourteen (14) days prior to the date on which the trial term
      is set to commence, each party shall file with the Clerk of Court a Trial Brief containing
      Proposed Findings of Fact and Conclusions of Law along with citations of authorities and
      arguments specifically addressing all disputed issues of law likely to arise at trial. Each
      proposed finding of fact shall be separately stated in numbered paragraphs and shall contain
      a detailed listing of the relevant material facts the party intends to prove, in a simple, narrative
      form. Each proposed conclusion of law shall contain a full exposition of the legal theories
      relied upon by counsel. After the conclusion of a bench trial, the court may allow the parties
      to file additional proposed findings of fact and conclusions of law. The proposed findings of
      fact and conclusions of law must be emailed to the chambers inbox in Microsoft Word (.doc
      or .docx) format.

  13. No later than 9:00 a.m. on the business day before trial, the parties shall provide to the Court
      an exhibit notebook containing marked copies of all exhibits. The parties may contact the
      courtroom deputy clerk to determine whether this requirement may be waived.

  14. SETTLEMENTS: Lead counsel (as designated above, Plaintiff’s counsel) shall immediately
      notify Chambers or the Courtroom Deputy Clerk if their case has settled. See Local Rule
      3.09. Notices of settlement must be in writing.


  ORDERED in Tampa, Florida, on July 11, 2022.




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